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 4                          UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
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 7 LANE A. SIEFERS, an individual and )               2:08-CV-00269-PMP-PAL
   DAVID SIEFERS, as guardian ad litem )
 8 of RILEY E. SIEFERS, a minor        )
                                       )
 9               Plaintiffs,           )
                                       )
10 vs.                                 )                    ORDER
                                       )
11 PACIFICARE LIFE ASSURANCE           )
   COMPANY, a California corporation, )
12                                     )
                                       )
13                                     )
                 Defendant.            )
14                                     )
15            Before the Court for consideration is Defendant Pacificare’s Motion for
16   Summary Judgment (Doc. #37), filed on August 10, 2010, and there being no timely
17   response in opposition thereto by Plaintiffs, and it further appearing that Defendant is
18   entitled to relief requested on the merits of their motion, and good cause appearing,
19            IT IS ORDERED that Defendant Pacificare’s Motion for Summary
20   Judgment (Doc. #37) is GRANTED, and Plaintiffs’ Complaint is hereby
21   DISMISSED.
22

23   DATED: September 7, 2010.
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                                                PHILIP M. PRO
26                                              United States District Judge
